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           IN THE UNITED STATES DISTRICT COURT
           FOR THE SOUTHERN DISTRICT OF TEXAS
                    HOUSTON DIVISION


WALTER ALEXANDER SORTO, §
                                   §
                 Petitioner,       §
                                   §
                                   §
           -vs-                    §        CIVIL NO. 4:10-CV-00613
                                   §
                                   §     ***DEATH PENALTY CASE***
                                   §
BOBBY LUMPKIN, Director,           §
Texas Department of Criminal       §
Justice, Correctional Institutions §
Division,                          §
                                   §
                 Respondent.       §

                    ______________________________

                             ADVISORY
                    ______________________________


     On June 20, 2022, the undersigned informed this Court that,

pursuant to this Court’s order authorizing funding, Dr. Gilbert

Martinez completed the interviews of Sorto’s family members

(necessary to determine whether Sorto satisfies the criteria for

intellectual disability) on June 15. Counsel further informed the Court

that he anticipated Dr. Martinez would issue a report of his findings by
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July 5. Counsel spoke to Dr. Martinez on Friday, July 8; Martinez

informed the undersigned that he would be unable to complete his

report until August, but assured Counsel he would complete it in

August. Counsel anticipates no additional delays and will inform the

Court promptly as soon as Dr. Martinez’s report is received.


                         Respectfully submitted,

                            s/ David R. Dow
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                   Counsel to Walter Alexander Sorto




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                    CERTIFICATE OF SERVICE

      I certify that July 13, 2022, a copy of the foregoing pleading was
electronically served on counsel for the Respondent by filing the
document with the Clerk of the Court for the U.S. District Court,
Southern District of Texas, using the electronic case filing system of the
court.

                                               s/ David R. Dow
                                               ___________________
                                               David R. Dow




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